Case 1:25-cv-01111-EGS   Document 13-4   Filed 04/22/25   Page 1 of 11




                         Exhibit 1
     Case 1:25-cv-01111-EGS            Document 13-4         Filed 04/22/25      Page 2 of 11




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



PROTECT DEMOCRACY PROJECT,

                       Plaintiff,
                                                                Case No. 1:25-cv-01111
       v.

U.S. OFFICE OF MANAGEMENT & BUDGET
et al.,

                       Defendants.



                           DECLARATION OF WILLIAM P. FORD

I, William P. Ford, declare as follows:

       1.​     I am a policy advocate at the Protect Democracy Project (Protect Democracy).

The statements made in this declaration are based on my personal knowledge and my

understanding of information made available to me pursuant to my duties at Protect Democracy.

       2.​     Plaintiff Protect Democracy is a nonpartisan, nonprofit organization whose

mission is to prevent American democracy from declining into a more authoritarian form of

government. Protect Democracy engages in public education about threats to democratic norms

and institutions and how the American people can best confront them. It advances its mission

through research, analysis, technology, and litigation to stand up for free and fair elections, the

rule of law, fact-based debate, and a better democracy for future generations. See Protect

Democracy, About Us, https://protectdemocracy.org/about/ (last visited Apr. 20, 2025).

       3.​     Part of Protect Democracy’s work promoting checks and balances and the

constitutional separation of powers includes efforts to defend Congress’s power of the purse, a



                                                  1
     Case 1:25-cv-01111-EGS            Document 13-4        Filed 04/22/25     Page 3 of 11




critical check against abuses of executive authority. For example, Protect Democracy recently

published an extensive report correcting mischaracterizations of the history of presidential

impoundments. See Protect Democracy, The Myth of Presidential Impoundment Power (Mar.

2025), protectdemocracy.org/impoundment-myth. Protect Democracy also has advocated for the

transparency requirement at issue in this case, which requires Defendant Office of Management

and Budget (OMB) to post its apportionments on a public website. See Press Release, Protect

Democracy, OMB Implements Apportionment Transparency Program, a Key Pro-Democracy

Reform (July 13, 2022), https://tinyurl.com/4e3d8kxd.

       4.​     In March 2022, Congress enacted new legislation requiring OMB to post its

apportionments on a public website. Pub. L. No. 117-103, div. E, tit. II, § 204, 136 Stat. 49,

256-57 (2022). OMB launched its website (https://apportionment-public.max.gov) in July 2022.

Press Release, Protect Democracy, supra. And in December 2022, Congress made the

requirement that OMB “operate and maintain” that public apportionment website permanent.

Pub. L. No. 117-328, div. E, tit. II., § 204, 136 Stat. 4459, 4667 (2022).

       5.​      After OMB launched its public apportionment website, I organized and

moderated a virtual training, on Protect Democracy’s behalf, for congressional staff in October

2022 on “how to read apportionments, navigate and use OMB’s website, and find the

apportionments associated with a particular appropriation or Treasury account.” See Protect

Democracy, Experts Explain How to Read Apportionments and Navigate OMB’s New

Apportionment Website, YouTube (Oct. 17, 2022), https://tinyurl.com/yd6urbxe. Three experts

on the apportionment process — all former OMB or agency budget officials — led the training.

Id. To do that, they prepared an 85-page slide deck titled, “Using OMB’s Public Apportionment




                                                  2
     Case 1:25-cv-01111-EGS            Document 13-4        Filed 04/22/25      Page 4 of 11




Website.” Lester Cash et al., Using OMB’s Public Apportionment Website (Oct. 13, 2022),

https://tinyurl.com/tz3r954n.

       6.​     In November 2022, Protect Democracy made a recording of the training, a copy

of the slide deck, and other resources for Congress publicly available online after the training.

See Using OMB’s Apportionment Website: Resources for Congress, Protect Democracy (Nov. 3,

2022), https://tinyurl.com/297a79m2. As one law professor has written, those additional

resources included a detailed explanation of “how to find a relevant apportionment in eleven

steps, walking through sequential references to the relevant fiscal year’s appropriation act

provision, the Treasury Department’s Federal Account Symbols and Titles Book, and an excel

spreadsheet on OMB’s website.” Eloise Pasachoff, Modernizing the Power of the Purse Statutes,

92 Geo. Wash. L. Rev. 359, 373-74 (2024), https://tinyurl.com/ycxswdd6 (describing Protect

Democracy’s training and apportionment educational resources).

       7.​     In January 2024, Protect Democracy began building OpenOMB.org

(“OpenOMB”) to make it easier for Congress, the press, and the public to use OMB’s

apportionment information. See About OpenOMB, supra. As the Princeton Initiative on

Restoring the Constitutional Powers of Congress observed in a subsequent report, OMB’s

website was “unnecessarily difficult to navigate” because it provided links to apportionment

documents organized by agency and by Treasury Appropriation Fund Symbol, “which may not

be easily recognized as programs of interest by members of Congress, staff members, or

members of the public.” Princeton Initiative, The Power of the Purse 5 (May 2024),

https://tinyurl.com/3av4dbdx. “Reviewing information from [OMB’s] website,” the report

continued, “also require[d] downloading discrete data files rather than allowing users to interact




                                                 3
     Case 1:25-cv-01111-EGS            Document 13-4         Filed 04/22/25      Page 5 of 11




with the information directly online.” Id. By building OpenOMB, Protect Democracy sought to

address these and other hurdles to public engagement with OMB’s apportionments.

         8.​    In October 2024, Protect Democracy launched OpenOMB. See Protect

Democracy (@protctdemocracy), X (Oct. 2, 2024, 10:55 PM), https://tinyurl.com/4a7rvzea;

William Ford, et al., Is the President following the law when it comes to spending?, If You Can

Keep It (Oct. 2, 2024), https://tinyurl.com/2j6k4v6e. OpenOMB aims to make oversight of

OMB’s apportionments easier for Congress, the press, and the public. See About OpenOMB,

supra.

         9.​    I led the development of OpenOMB. See Ford, et al., supra; Staff: William Ford,

Protect Democracy, https://tinyurl.com/2vjucdzn. That work began in January 2024, and Protect

Democracy has continued to maintain and push out improvements to the site since it launched in

October 2024. In total, Protect Democracy has spent hundreds of hours building, designing,

operating, and improving OpenOMB. I also have delivered training sessions to nonprofit

organizations and journalists on how they can use OpenOMB in their work.

         10.​   OpenOMB “uses a simple process to provide easier access to apportionment files.

Each day, OpenOMB pulls the primary source data from OMB’s site and stores the files in a

database in a manner that allows them to be searched, filtered, and indexed. OpenOMB’s search

function then provides a means to query that database, searching for information in and across

apportionments. The site is, in short, a user-friendly interface that provides access to a store of

primary source data that is updated daily and contains searchable and well-organized files. (All

apportionment files displayed on OpenOMB reflect the underlying primary source data and

documents that OMB discloses on its site.)” See Ford, et al., supra.




                                                  4
     Case 1:25-cv-01111-EGS             Document 13-4        Filed 04/22/25       Page 6 of 11




       11.​      OpenOMB has a wide range of users beyond Protect Democracy, including

Congress, litigants, journalists, public policy organizations, academics, libraries, budget experts,

and the Wikipedia community. For example:

              a.​ Congressional appropriators have stated in press releases that they monitor

                 OpenOMB to identify apportionment abuses. See Fact Sheet, House

                 Appropriations Committee Democrats, Background on Unlawful Impoundment in

                 President Trump’s Executive Orders (Jan. 29, 2025), https://tinyurl.com/5ce9tuhf

                 (“Nevertheless, we will be monitoring OpenOMB.org. . . .”).

              b.​ Litigants have cited OpenOMB’s apportionment information. See, e.g., Mem. Of

                 Law in Supp. of Pls.’ Renewed Mot. for a TRO at 36, AFL-CIO, et al. v. Dep’t of

                 Labor et al., No. 25-cv-00339 (Feb. 12, 2025), ECF No. 29-1,

                 https://tinyurl.com/2s48d7hn (citing OpenOMB); Mem. in Supp. of Pl.’s Mot. for

                 Prelim. Inj. At 2, Citizens for Responsibility & Ethics in Wash. v. U.S. DOGE

                 Service, et al., No. 25-cv-00511 (Feb. 20, 2025), ECF No. 2-1,

                 https://tinyurl.com/3bt8667p (same).

              c.​ Journalists have used OpenOMB as a source in their news reporting. See

                 Aleksandra Wrona, Exploring DOGE’s creation, legality and purpose, Yahoo

                 News (Mar. 27, 2025), https://tinyurl.com/32czhcpj (same); Paul Krawzak, White

                 House scraps public spending database, Roll Call (Mar. 24, 2025),

                 https://tinyurl.com/54zaeye6 (same).

              d.​ Public policy organizations have cited OpenOMB information in issue briefs. See,

                 e.g., Citizens for Responsibility & Ethics in Washington, Key Concepts Related to

                 the Impoundment Control Act of 1974 (Jan. 2025), https://tinyurl.com/24bn7k6j;




                                                   5
      Case 1:25-cv-01111-EGS         Document 13-4       Filed 04/22/25      Page 7 of 11




              Governing for Impact, Challenging DOGE (Feb. 2025),

              https://tinyurl.com/592euzkz.

           e.​ Academics have recognized that the apportionment transparency laws have

              “enabl[ed] a number of good government groups to better track spending at sites

              like openomb.org.” See Matthew B. Lawrence, Secret Conditions Move from

              DOGE to OMB, Yale J. Reg. (Apr. 3, 2025), https://tinyurl.com/278erknm.

           f.​ Libraries have shared OpenOMB as a resource to help the communities they serve

              understand developments in government. See John M. Pfau Library, U.S.

              Government Information: Archived and Alternative Sources, Tracking Tools, Cal.

              State Univ., San Bernardino, https://tinyurl.com/mwb3ht8m (last visited Apr. 20,

              2025) (listing OpenOMB as the resource for tracking apportionments); The

              Library, U.S. Government Information: Trump Trackers, UC San Diego,

              https://tinyurl.com/2p99bz8n (last visited Apr. 20, 2025) (same).

           g.​ Budget experts have highlighted OpenOMB as a tool to “help track”

              apportionments and potential spending abuses. See Bobby Kogan

              (@bbkogan.bsky.social), BlueSky (Feb. 21, 2025, 3:20 PM),

              https://tinyurl.com/knjkvh38.

           h.​ Wikipedia entries cite OpenOMB as an external link. See, e.g., Wikipedia,

              Apportionment (OMB), https://tinyurl.com/4fp2yjdh (last visited Apr. 20, 2025);

              Wikipedia, Centers for Medicare & Medicaid Services,

              https://tinyurl.com/327w32ba (last visited Apr. 20, 2025).

       12.​   Between OpenOMB’s launch on October 2, 2024, and March 24, 2025, Google

Analytics indicates that OpenOMB has had approximately 41,000 page views.




                                               6
      Case 1:25-cv-01111-EGS            Document 13-4         Filed 04/22/25      Page 8 of 11




        13.​    OMB made apportionments public as required by law until March 24, 2025, when

its website began displaying a “[p]age not found” error. See Krawzak, supra.

        14.​    On March 27, 2025, Protect Democracy posted the following header on

OpenOMB: “The OMB website that provides the underlying data used by OpenOMB is offline.

There will be no new apportionments posted on OpenOMB until that site is back online.”

OpenOMB.org, https://openomb.org (last visited Apr. 20, 2025).

        15.​    This month, OpenOMB’s page views have dropped to the lowest level since

President Trump took office. According to Google Analytics, after approximately 5,600 page

views in January, 20,000 page views in February, and 6,800 page views in March, OpenOMB has

received only 3,400 page views so far in April.

        16.​    Moreover, because OMB took its apportionment website down, Protect

Democracy cannot launch a new “notification” feature it has spent months developing for

OpenOMB. That notification feature would have allowed OpenOMB users to subscribe to and

receive daily or weekly email notifications when a new apportionment is posted for a particular

account, agency, or bureau. The notification feature also would have enabled users to subscribe to,

and receive daily or weekly email notifications for, particular search results. For instance, if a user

wanted to be notified if an apportionment contained the words “are not available for obligation”

— the language OMB used in an apportionment footnote during the first Trump administration to

withhold funds Congress had appropriated for security assistance to Ukraine1 — the OpenOMB

notification feature would have allowed users to receive daily or weekly email notifications

whenever new apportionments included those words.




1
 GAO, B331564, Office of Management and Budget—Withholding of Ukraine Security
Assistance 3-4 (Jan. 16, 2020), https://tinyurl.com/nhea99ck.

                                                   7
      Case 1:25-cv-01111-EGS           Document 13-4        Filed 04/22/25       Page 9 of 11




        17.​    Protect Democracy was finishing work on the notification feature when OMB

took down its apportionment website. This final stage of work involved testing whether the

notification system actually would send an automated email to a user when OpenOMB processed

a relevant new apportionment. Without new apportionments uploaded by OMB, Protect

Democracy cannot finish this testing and finalize and release the notification feature. Even if

Protect Democracy could release the feature without this additional testing, however, it would be

of no use to OpenOMB’s users since OMB no longer is disclosing new apportionments.

        18.​    Upon information and belief, since OMB took down its public apportionment site,

OpenOMB is the only website (other than the Internet Archive’s Wayback Machine) that provides

a public archive of the apportionments OMB disclosed from July 13, 2022, to March 24, 2025.

See Wayback Machine, https://apportionment-public.max.gov/, Internet Archive

https://tinyurl.com/bdxv2n9w (last visited Apr. 20, 2025); Ford, et al., supra (“OpenOMB pulls

the primary source data from OMB’s site and stores the files in a database.”).

        19.​    Without public access to the up-to-date apportionment documents and information

previously made available on the OMB website, Protect Democracy can no longer provide

updated information about apportionments to Congress, the press, and the public through

OpenOMB, or otherwise use the site to monitor the apportionments, footnotes, and the written

explanations accompanying footnotes for potential violations of the law.

        20.​    Without access to OMB’s apportionments, Protect Democracy also cannot update

Congress, the press, and the public on whether and how OMB is using its apportionment authority

specifically to withhold, or “impound,” appropriated funds in ways that potentially unlawfully

affect the delivery of federal government services, employment of federal workers, or delivery of

federal funding for certain grantees. In October 2024, Protect Democracy assessed that the




                                                  8
     Case 1:25-cv-01111-EGS           Document 13-4       Filed 04/22/25      Page 10 of 11




apportionment process would be one of the key means by which President Trump would deliver

on his vow to impound federal funds if re-elected. See Ford, et al., supra; Donald J. Trump, Using

Impoundment to Cut Waste, Stop Inflation, and Crush the Deep State, Agenda47 (June 20, 2023),

https://tinyurl.com/2n4nu6mj. As we wrote in October: “[P]residents of both parties have abused

[the apportionment] process to advance their agendas in defiance of the law. Former President

Trump did so by withholding U.S. military aid to Ukraine through a series of apportionments that

put a pause on that funding. The Government Accountability Office found that this hold violated

the Impoundment Control Act. But Trump and his advisers have called for more of the same if

he’s reelected. The former President has vowed to impound funds on a massive scale to ‘crush the

Deep State.’ And Trump’s former OMB Director Russell Vought has advocated for the

‘aggressive’ use of apportionment authority ‘on behalf of the President’s agenda.’” Id. (emphases

added).

          21.​   Although Protect Democracy will continue to engage in efforts to educate the

public on the administration’s impoundment of federal funds, without access to OMB’s

apportionments, Protect Democracy cannot shine light on whether and how this authority is being

used in that effort. See, e.g., VIRTUAL EVENT: Impoundments, Soc’y for Rule of Law (Mar. 31,

2025), https://societyfortheruleoflaw.org/impoundments/ (announcing my participation in an April

22 panel event discussing “the past, present, and future of impoundments” in light of “recent

actions from the administration”). This is especially burdensome now, as OMB is reportedly

preparing to send a rescission package to Congress either this week or next. If OMB had

continued to comply with the requirement to post its apportionments on its public website, Protect

Democracy might have been able to determine what funds OMB is withholding but declined to

include in its rescission package, thereby educating Congress, journalists, and the public on how




                                                 9
      Case 1:25-cv-01111-EGS           Document 13-4         Filed 04/22/25    Page 11 of 11




the rescissions proposed by the President relate to the potentially larger amount of federal funds

that have yet to be apportioned, obligated, or spent.

        22.​    Protect Democracy recently submitted a Freedom of Information Act request to

OMB seeking the apportionments it has issued since it took down its public apportionment

website. FOIA Request from Protect Democracy to OMB (Apr. 11, 2025),

https://tinyurl.com/3eap6suf. Unfortunately, unless apportionment information responsive to that

request is disclosed in the same Open Government Data Act compliant format that OMB used on

its apportionment website, Protect Democracy likely would not be able to feed the information

into OpenOMB for public dissemination and use without significant manual effort.

        23.​    By contrast, once OMB’s apportionment website is back online, provided OMB

continues to disclose apportionments in the same Open Government Data Act compliant format

file formats, OpenOMB would automatically update and display the newly posted apportionment

files. See About OpenOMB, supra (“OpenOMB is updated daily.”). This would allow Protect

Democracy immediately to resume its work of providing the public with urgent, timely, and

accessible information about apportionments, including whether OMB is using its apportionment

authority to impound appropriated funds. And it would allow Protect Democracy to finish testing

and then launch the “notification” feature it has worked to build.



I declare under penalty of perjury that the foregoing is true and correct.

Executed on April 22, 2025.



​       ​       ​       ​      ​       ​       ​        /s/ William P. Ford​
​       ​       ​       ​      ​       ​       ​        William P. Ford​
​       ​       ​       ​      ​       ​       ​        Policy Advocate
​       ​       ​       ​      ​       ​       ​        Protect Democracy


                                                   10
